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Attorneys for Plaintiffs




                              UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON



KELSEY CASCADIA ROSE JULIANA;                    Case No.: 6:15-cv-01517-TC
XIUHTEZCATL TONATIUH M., through his
Guardian Tamara Roske-Martinez; et al.,
                Plaintiffs,                      DECLARATION OF PETER A.
                                                 ERICKSON in Support of Plaintiffs’
v.                                               Response in Opposition to Defendants’
                                                 Motion for Summary Judgment
The UNITED STATES OF AMERICA;
DONALD TRUMP, in his official capacity as
President of the United States; et al.,
                Defendants.




Declaration of Peter A. Erickson in Support of Plaintiffs’ Response in Opposition to
Defendants’ Motion for Summary Judgment
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   I, Peter A. Erickson, hereby declare and if called upon would testify as follows:

1. I have been retained as an expert on behalf of Plaintiffs in this matter.

2. I have prepared an expert report for this litigation (“Expert Report”), a true and correct copy

   of which is attached hereto as Exhibit 1. My Expert Report is signed by me. A copy of my

   Expert Report was served on Defendants on April 13, 2018.

3. My Expert Report contains:

       a. a complete statement of all opinions I will express at trial and the basis and reasons

           for these opinions;

       b. the facts or data considered by me in forming my opinions;

       c. any exhibits that I currently plan to use to summarize or support my opinions;

       d. my qualifications, including a list of all publications authored by me in the previous

           10 years;

       e. a list of all other cases in which, during the previous 4 years, I testified as an expert at

           trial or by deposition, if any; and

       f. a statement of the compensation to be paid for the study and testimony in the case.

4. If called to testify in this matter, I would provide testimony as described in the attached

   Expert Report.

       In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct.

       DATED this 25th day of June, 2018.

                                                      Respectfully submitted,




                                                      Peter A. Erickson
Declaration of Peter A. Erickson in Support of Plaintiffs’ Response in Opposition to                 2	
Defendants’ Motion for Summary Judgment
